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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                 §
 In re:                                          §     Chapter 11 (Subchapter V)
 FREE SPEECH SYSTEMS LLC,                        §
 .                                               §     Case No. 22-60043 (CML)
                                                 §
                               Debtor.           §     Jointly Administered

   DEBTOR AND SUBCHAPTER V TRUSTEE’S JOINT LIMITED OBJECTION TO
  EMERGENCY MOTION OF ALEXANDER E. JONES TO FIX A DATE BY WHICH
       DEBTOR MUST ASSUME OR REJECT EXECUTORY CONTRACT

       Free Speech Systems, LLC (the “Debtor”), the debtor and debtor-in-possession in the

above-captioned chapter 11 case (the “Chapter 11 Case”) and Melissa Haselden, the subchapter v

trustee (the “Subchapter V Trustee”) file this limited objection (the “Objection”) to Emergency

Motion of Alexander E. Jones to Fix a Date by which Debtor Must Assume or Reject Executory

Contract [Docket No. 349] (the “Motion”) filed by Alexander E. Jones (“Mr. Jones”) and state the

following:

       1.      Mr. Jones seeks entry of an order fixing a date by which the Debtor must assume

or reject an employment agreement between the Debtor and Jones (the “Contract”). The Debtor

and Subchapter V Trustee object to the Motion at this time because the relief requested is

premature.

       2.      Mr. Jones is without question central to the success of the FSS. However, the

business operations of FSS continue to morph and improve through the effort of the CRO working

with Mr. Jones and the Debtor’s employees. Decisions with regards to Mr. Jones’ employment

agreement will certainly be informed by the developing business operations. Given the evolving

landscape of the business and the case as well as the anticipated mediation, it is premature at this

time to establish a date by which Mr. Jones’ employment agreement must be assumed or rejected.
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January 11, 2023
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                                           Subchapter V Trustee




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                                CERTIFICATE OF SERVICE

        I certify that on January 11, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                             /s/ Elizabeth Freeman
                                             Elizabeth Freeman
